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                       IN THE DISTRICT COURT OF THE UNITED STATES
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    FLORENCE D]VISION


  UNITED STATES OF AMERICA                                Criminal No: 4:22-q-580-JD


                                                                   PLEA AGREEMEN'r
  BIIAGAVAN MAHAMAYAVI ANTLE,
      a/k/a KEVIN ANTLE,
      a/k/a DOC ANTLE,



                                         General Provisions


        This PLEA AGREEMENT i, ,ua,            tli, 2frauy of August 2023, betweenthe United
States of America, as represented by United States Attorney ADAIR F. BoRouGHs, Assistant

Attorney General, Environment and Natural Resources Division, TODD KIM, Assistant united

states Attomey Amy F. Bower, and Senior Trial Attorney, Environmentar Crimes section, patrick

M. Duggan, the Defendant, BHAGAVAN MAHAMAYAVI ANTLE,aINa KEVIN ANTLE,

a./k/a DOC ANTLE, and Defendant,s attomeys, Andrew Moorman and Ryan Beasley:

        IN CONSIDERATIoN of the mutual promises made herein, the parties agree as folrows:

l.      The Defendant agrees to plead guilty to Counts I and 2 of the Information now pending,

        which charge conspiracy to violate the Lacey Act and conspiracy to commit money

        laundering, both violations ol l8 U.S.C. $ 371.

       In order to sustain its burden ofproof, the Government is required to prove the following

for both Counts 1 and 2:

       A.       Two or more persons agree to do something which federal law prohibits;l

       B.       The Defendant knew ofthe conspiraoy and willfirlly joined the conspiracy; and

I For count
              I : an agreement to violate the Lacey Act. For count 2: an agreement to commit money
laundering.
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     C.     At some time during the existence of the conspiracy, in the District of South
            Carolina, one ofthe members ofthe conspiracy performed an overt act charged in
            the lnformation to accomplish the object and purpose ofthe agreement.

     The penalty lor these offenses is:

     Up to five years in prison, a fine of$250,000.00, up to three years supervised release, and a
     special assessment of$100 for each count.

2    The Defendant understands and agrees that monetary penalties
                                                                      [i.e., special assessments,
     restitution, fines and oth€r payments required under the sentence] imposed by the Court

     are due and payable immediately and subject to enforcement by the United States as civil

    judgments, pursuant to I8 U.S.C. I 3613. In the event the Court imposes a
                                                                                   schedule for

     payment ofrestitution, the Defendant also understands that payments made in accordance

     with installment schedules set by the court are minimum payments only and do not

     preclude the Government from seeking to enforce thejudgment against other assets ofthe

     Defendant at any time, as provided in l8 U.S.C.
                                                           $$ 3612, 3613 and 3664(m). The
     Defendant fufther agrees to enter into the Bureau ofprisons Inmate Financial Repayment

    Program if sentenoed to a term of incarceration with an unsatisfied monetary penalty. The

    Defendant fudher understands that any monetary penalty imposed is not dischargeable in

    bankruptcy.

           A.      Special Assessment: pursuant to l g U.S.C. $ 3013, the Defendant must pay
                   a special assessment of $100.00 for each felony count for which he is
                   convicted. This special assessment must be paid at or before the time ofthe
                   guilty plea hearing or during participation in the Bureau ofprisons Inmate
                   Financial Repayment program if this plea results in incarceration.

           B.      Restitution: The Defendant agrees to make full restitution under l g U.S.C.
                   $ 3556 in an amount to be determined by the Court at the time ofsentencing,
                   which amount is not limited to the count(s) to whish the Defendant is
                   pleading guilty, but will include restitution to each and every identifiable
                   victim who may have been harmed by his scheme or pattem of criminal
                   activity, pursuant to l8 U.S.C. $ 3663. The Defendant agrees to cooperate
                   tully with
                   the Government in identifting all victims. Upon demand, the Defendant
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                         shall submit a personal financial statement under oath and submit to
                         interviews by the government and the U.S. probation Office regarding the
                         Defendant's capacity to satisff any fines or restitution. The Defendant
                         expressly authorizes the U.S. Attorney's Office to immediately obtain a
                         credit repofi on the Defendant in order to evaluate the Defendant,s ability to
                         satisfli any financial obligation imposed by the Court. The Defendant
                         understands that the Defendant has a continuing obligation to pay in firll as
                         soon as possible any financial obligation imposed by the Court.

                 C       Fines: The Defendant understands that the Coufi may impose a fine
                         pursuant to 18 U,S.C. $$ 3571 and 3572.

3        Provided the Defendant complies with all the terms of this Agreement, the United States

         agrees to move to dismiss the Indictment pending under this number at sentencing as it

         relates to tbe Defendant. The Delendant understands that the coud may consider these

         dismissed counts as relevant conduct pursuant to $ lB I .3 of the united states Sentencing

         Commission Guidelines.

4.       The Defendant understands that the obligations of the Govemment within the plea

         Agreement are expressly contingent upon the Defendant,s abiding by federal and state laws

         and complying with any bond executed in this case. In the event that the Defendant fails

         to comply with any of the provisions of this Agreement, either express or implied, the

         Govemment will have the right, at its sole election, to void all of its obligations under this

         Agreement and the Defendant will not have any right to withdraw his plea ofguilty to the

         offenses enumerated herein.

                                    Cooperation and Forfeiture

5.       The Defendant agrsss to be fully truthful and forthright with federal, state and local law

         enforcement agencies by providing full, complete and truthful information about all

         criminal activities about which he has knowledge. The Defendant must provide full,

         complete and truthful debriefings about these unlawful activities and must fully disclose
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      and provide truthful information to the Government including any books, papers, or

      documents or any other items of evidentiary varue to the investigation. 'fhe Defendant

      must also testify fully and truthfu[y before any grand juries and at any triars or other

      proceedings if called upon to do so by the Govemment, subject to prosecution
                                                                                         for perjury

      for not testif ing truthfirlly. The failure ofthe Defendant to be fully truthful and forthright

      at any stage will, at the sole election of the Government, cause the obligations of the

      Government within this Agreement to become nu and void. Further, it is expressry agreed

     that ifthe obligations of the Govemment within this Agreement become null and void due

     to the lack oftruthfulness on the part ofthe Defendant, the Defendant understands that:

             A.      the Defendant will not be permitted to withdraw his plea of guilty to the
                     offenses described above;

             B.      all additional charges known to the Government may be filed in the
                     appropriate district;

             C.      the Government will argue for a maximum sentence for the offense to which
                     the Defendant has pleaded guilty; and

             D.      the Government will use any and all information and testimony provided by
                     the Defendant pursuant to this Agreement, or any prior p.off"i agr"ements,
                     in the prosecution ofthe Defendant ofall charges.

6.   The Defendant agrees to submit to such polygraph examinations as may be requested
                                                                                                 by

     the Government and agrees that any such examinations shall be performed by a polygraph

     examiner selected by the Government. Defendant further agrees that his refusal to take or

     his failure to pass any such polygraph examination to the Government's satisfaction will

     result, at the Govemment's sole discretion, in the obrigations of the Government within
                                                                                                the

     Agreement becoming null and void.

7    The Government agrees that any serf-incriminating information provided by the Defendant

     as a result ofthe cooperation required by the terms ofthis Agreement, although
                                                                                         available
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         to the Court, will not be used against the Defendant in determining the Defendant,s

         applicable guideline range for sentencing pursuant to th. united States sentencing

         commission Guidelines. The provisions of this paragraph shal not be applied
                                                                                              to restrict
         any such information:

                A.      known to the Government prior to the date of this Agreement;

                B.      concerning the existence ofprior convictions and sentences;

                C.      in a prosecution for perjury or giving a false statemenq

                D.      in the event the Defendant breaches any ofthe terms oftie plea Agreement;
                        or

                E.      used to rebut any evidence or arguments offered by or on behalf of the
                        Defendant (including arguments made or issues raiied saa sponre by the
                        District Court) at any stage ofthe criminal prosecution (including bail, trial,
                        and sentencing).


8.      Provided the Defendant cooperates pursuant to the provisions ofthis plea Agreement,
                                                                                                    and

        that cooperation is deemed by the Government as providing substantiar assistance
                                                                                                 in the
        investigation or prosecution of another person, the Government agrees
                                                                                    to move the court
        for a downward departure or reduction of sentence pursuant to united states
                                                                                           Sentencing

        Commission Guidelines g 5K1.1, 18 U.S.C. g 3553(e) qg Federal Rule
                                                                                         of Criminal
        Procedure 35(b). Any such motion by the Government is not binding
                                                                                   upon the Court, and

        should the court deny the motion, the Defendant wilr have no
                                                                          right to withdraw his plea.
9       The Defendant agrees to voruntarily surrender to, and not to contest
                                                                                 the forfeiture of any

        and all assets and pr operty, or potions thereof, which are subject
                                                                              to forfeiture pursuant to
        any provision of law, including but not limited to, property in
                                                                          the possession or control of
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         the Defendant or Defendant,s nominees. The Defendant agfees to voluntarily execute a

         withdrawal of any administrative claims for the United States Currency listed below.


         Specifically, the Defendant agrees to voluntariry surrender, and not contest the forfeiture

         of property identified in the Indictment and Information, and any forfeiture Bilr of
         Particulars. The Defendant agrees to abandon any interest in any animals that were the

         subject ofthe Indictment or the Information to the united States and agrees to abandon any

         interest in animals currently residing at the Mynle Beach safari should the united states

         assert an interest in those animals. The Defendant agrees that pending sentencing
                                                                                             and entry

         of a judgment he will provide for the housing and care of the animals forfeited to the

         government. During this time, Defendant agrees to allow independent experts to conduct

         evaluations ofthe animals to determine their appropriate future physical placement.

                United States Currencv :

                (a)    $44,533.38 in tunds from Bank Account #XXXXXXXX6I32 in the name
                       ofBhagavan Antle Sole Prop dba preservation Station T.I.G.E.R.S. at Bank
                       of America, Charlotte, North Carolina
                       Asset ID: 22-FBl-004644

                (b)    $64,986.34 in funds from Bank Account #XXXXXXXX54O9 in the name
                       of Preservation Stations; Bhagavan Antte; TIGERS at Bank of America,
                       Charlotte, North Carolina
                       Asset ID: 22-FBl-004646

                (c)    $36,580.37'z in tunds from Bank Account #XXXXXXXXS3TI in the name
                       of South Carolina Conservation Farm, LLC dba Myrtte Beach Safari at
                       Bank of America, Charlotte, North Carolina

                (d)    $80,581.59 in tunds from Bank Account #XXXXXXXX9802 in the name
                       of South Carolina Conservation Farm, LLC dba Myrtle Beach Safari at
                       Bank of America, Charlotte, Norrh Carolina

                       Asset ID : 22-FBl-004645

2
 $29,442.55 was returned to the defendant on Au gust 30,2022. $7,l37.g2willbe
administratively forfeited by the seizing agency.
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            WILDLIFUCHIMPANZEES:

             (a)    Approximately 4-year-old male chimpanzee
                    Bom June/July 2019
                    Name: "Angada"

             (b)    Approximately 3-year-old female chimpanzee
                    Born MarchiApril 2020
                    Name: "Tara"

            (c)     Approximately l lear-old female chimpanzee
                    Born March/April 2022
                    Name: "Vanera"

     with regard to each and every asset listed in the Information or seized in a related
     investigation or administrative, state, or local action, the Defendant stipulates and agrees:

        To the forfeiture of these assets pursuant to any federal criminal, civil judicial or
        administrative forfeiture action. The Defendant also hereby agrees to waive all
        constitutional, statutory and procedural challenges in any mannei (including direct
        appeal, habeas corpus, or any other means) to any forfeiture caried out in accordance
        widr this Plea Agreement on any grounds, including that the forfeiture described herein
        constitutes an excessive fine, was not properly noticed in the charging instrument,
        addressed by the Court at the time of the guilty plea, announced o1 sintencing, oi
        incorporated into the judgment.

        To its forfeiture herein, ifnecessary, as substitute property under 2l U.S,C.
                                                                                        $ 353(p), as
        made applicable by l8 U.S.C. $ 982(b)(l) or any other statute, or in a sepfiate
        administrative or civil judicial proceeding.

        That the Defendant has or had a possessory interest or other Iegal int€r€st in each item
        or propel1y.

        To assist the united states in the recovery of a assets by (i) taking whatever steps are
        necessary or requested by the united states to pass clear title to the united StatJs; (ii)
        preventing the disbursement ofany moneys and sale ofany pr.op€rty or assets; (iii) not
        encumbering or transferring any resl estate alter the Defendani's iigning ot ttrls plea
        Agreement; and (iv) directing all financial institutions to turn over and suirender to the
        United States all funds and records regarding accounts listed in any document signed
        by the Defendant pursuant to this Plea Agreement, as criminal proceeds or substitute
        property.

        The Defendant waives all rights to notice offorfeiture under Rule 32.2 and ofany other
       action or proceeding regarding suoh assets. The Defendant consents and waives all
       rights to compliance by th€ United States with any applicable deadlines under lg
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          U.S.C. g 983(a). Any related administrative claim filed by the Defendant is hereby
          withdrawn.

          Pur-suant to Rule 32.2(b)(4), the Defendant agrees that the preliminary order of
          forfeiture will satisfu the notice requirement and will be final as to the Defendant at the
          time it is entered. In the event the for{eiture is omitted from the judgment, the
          Defendant agrees that the forfeiture order may be incorporated into the wriften
          judgment at any time pursuant to Rule 36.

          Ifthe United States discovers that the Defendant has not fully disclosed all assers, the
          United States may seek forfeiture of any subsequently discovered assets, and the
          Defendant agrees to the immediate forfeiture of anv such assets.

          The Defendant further agrees to make a full and complete disclosure ofall assets over
          which Defendant exercises control and those which are held or controlled by nominees.
          The Defendant agrees that Federal Rule of Criminal procedure 11 and iBl.g ofthe
                                                                                  $
          United States Sentencing Commission Guidelines will not protect from forfeiture,
          assets disclosed by the Defendant as part of his cooperation. The Defendant further
          agrees to submit to a polygraph examination on the issue of assets if it is deemed
          necessary by the United States.

          The Defendant agrees to waive any doublejeopardy claims the Defendant may have as
          aresult ofa folfeiture proceeding against any ofthese properties as provided ftr by this
          Plea Agreement and agrees to waive any claims that the forfeitur.e described herein
          constifutes an excessive fine.

          Forfeiture of the Defendant's assets shall not be treated as satisfaction of any fine,
          restitution, cost of imprisonment, or.any other penalty the Court may impose upon the
          Defendant in addition to forfeiture. The united states may use the value of forfeited
          property for restitution but is not required to do so.

10.   The Defendant also agrees to voluntarily transfer all right, title, interest and claim in the

      above-described property and./or assets to the united States of America. Furthermore, the

      Defendant attests, under penalty of perjury, that the Defendant owns the above-described

      property and/or assets free of any liens and encumbrances, and that no other person or

      entity has a claim to the above-described property and/or assets.

                                Mereer and Other Provisions

11    The Defendant represents to the court that he has met with his attorney on a sufficient

      number ofoccasions and for a sufficient period oftime to discuss the Defendant's case and
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       receive advice; that the Defendant has been truthful riiith his attomey and rerated a

       information ofwhich the Defendant is aware pertaining to the case; that the Defendant and

       his attomey have discussed possible defenses, if any, to the charges in the Information

       including the existence of any exculpatory or favorable evidence or witnesses, discussed

       the Defendant's right to a pubtic trial by jury or by the court, the right to the assistance of

       counsel throughout the proceedings, the right to call witnesses in the Defendant,s behalf

      and compel their attendance at trial by subpoena, the right to confront and cross-examine

      the Govemment's witnesses, the Defendant's right to testifi in his own behalf or to remain

      silent and have no adverse inferences drawn from his silence; and that the Defendant, with

      the advice of counsel, has weighed the relative benefits of a trial by jury or by the court

      versus a plea of guilty pursuant to this Agrcement, and has entered this Agreement as a

      matter of the Defendant's ftee and voluntary choice, and not as a result of pressure or

      intimidation by any person.

12.   The Defendant is aware that l8 U.S.c. g 3742 and 28 U.S.c. g 2255 afford every defendanr

      certain rights to contest a conviction and/or sentence. Acknowledging those rights, the

      Defendan! in exchange for the concessions made by the Government in this plea

      Agreement, waives the right to contest either the conviction or the sentence in any direct

      appeal or other post-conviction aotion, including any proceedings under 2g U.S.C.
                                                                                             $ 2255.

      This waiver does not apply to claims of ineffective assistance of counsel, prosecutorial

      misconduct, or future changes in the law that affect the Defendant's sentence. This

      Agreement does not affect the rights or obligations of the Government as set forth in lg

      u.s.c. $ 3742(b). Nor does it limit the Government in its comments in or responses to any post-

      sentencing matters.
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I   3.   The Defendant waives all rights, whether asserted directly or by a representative,
                                                                                                 to request

         or receive from any department or agency ofthe United States any records pertaining
                                                                                                         to

         the investigation or prosecution ofthis case, including without limitation any records
                                                                                                       that

         may be sought under the Freedom of Information Ac! 5 u.s.c.                           privacy Act
                                                                              $ 552, or the

         of 1974, 5 U.S.C. g 552a.

14' The parties hereby agree that this prea Agreement contains                   €ntire agreement of the
                                                                           'he
         parties; that this Agreement supersedes all prior promises, repr€sentations
                                                                                         and stat€ments

         ofthe parties; that this Agreement shall not be binding on any party until the Defendant

         tenders a plea ofguilty to the court havingjurisdiction over this matter; that this
                                                                                               Agreement

         may be modified only in writing signed by alr parries; and that any and all other promises,

         representations and statements, whether made prior to, contemporaneous with or after this

         Agreement, are null and void.




                        [SIGNATURE BLOCKS ON FOLLOWING PAGE]
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              1     )
                                                             ?€
                                   Defense



      #<7-z-                                     , Esquire
                                             Attomey


                                  ADAIR F. BOROUGHS
                                  UNITED TATES A    RNEY


       Date
                   s4             Amy      Bower (Fed.          84)
                                   Assistant United States Attomey


                                   TODD KIM
                                   ASSISTANT ATTORNEY GENERAL
                                   ENVIRONMENT AND NATURAL RESOURCES
                                   DIVISIONS


      *+E\laz_                              M. Duggan
                                   Senior Trial AttomeY
